Case 2:21-cv-00051-AWA-DEM Document 1 Filed 01/25/21 Page 1 of 4 PageID# 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

TRACY MCNAIR
         Plaintiff,

       v.

UNITED STATES OF AMERICA,                          Civil Action No. 2:21cv
          Defendant.

In re: Tracy McNair v. Hampton Roads
Community Health Center and Dr. Markovic
Vladimir, Case No. GV20014031-00, Norfolk
General District Court

                                   NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that the United States of America, pursuant to 42 U.S.C.

§ 233(c) and 28 U.S.C. §§ 1441 and 1446, and on behalf of the named defendants, Hampton

Roads Community Health Center and Dr. Vladimir Markovic (incorrectly identified in the

Warrant in Debt as “Dr. Markovic Vladimir”), hereby removes the matter captioned Tracy

McNair v. Hampton Roads Community Health Center and Dr. Markovic Vladimir [sic], Case

No. GV20014031-00, now pending in Norfolk General District Court to the United States

District Court for the Eastern District of Virginia, Norfolk Division.

       In support of this Notice, the United States of America, the only correct party defendant

for Hampton Roads Community Health Center and Dr. Vladimir Markovic states as follows:

       l.      Hampton Roads Community Health Center (“HRCHC”) and Dr. Vladimir

Markovic have been named as defendants in an action styled Tracy McNair v. Hampton Roads

Community Health Center and Dr. Markovic Vladimir [sic], Case No. GV20014031-00, now

pending in Norfolk General District Court. See Exhibit 1. On or about August 20, 2020,
Case 2:21-cv-00051-AWA-DEM Document 1 Filed 01/25/21 Page 2 of 4 PageID# 2




HRCHC received, through service or otherwise, a copy of the initial pleading (a “Warrant in

Debt”) setting forth the claim for relief against HRCHC and Dr. Markovic upon which such

action is based. This United States District Court embraces the place in which the state court

action is pending.

       2.      The Complaint alleges medical malpractice by HRCHC and Dr. Markovic

specifically. Dr. Markovic is an employee of Portsmouth Community Health Center, Inc., which

does business as HRCHC. In accordance with 42 U.S.C. § 233(c), the Acting United States

Attorney for the Eastern District of Virginia has found and certified that HRCHC and Dr.

Markovic were acting within the scope of their employment as deemed employees of the Public

Health Service at the time of the incident in question. See Exhibit 2

       3.      Upon such certification by the Acting United States Attorney, and because

Plaintiff alleges personal injury resulting from the performance of medical care and related

functions occurring within the scope of HRCHC’s and Dr. Markovic’s deemed PHS

employment, this action is one that “shall” be removed to this Court. 42 U.S.C. § 233(a) - (c);

see also 28 U.S.C. §§ l346(b), 2679. Removal is authorized “at any time before trial.” 42

U.S.C. § 233(c). The matter is currently pending in state court. No trial has occurred or been

scheduled; a status/return date is set for February 17, 2021.

       4.      A copy of this notice is being filed on January 25, 2021, with the Clerk of the

General District Court for the City of Norfolk, Virginia, pursuant to 28 U.S.C. § l446(d).



                           [Remainder of page intentionally left blank]




                                                 2
Case 2:21-cv-00051-AWA-DEM Document 1 Filed 01/25/21 Page 3 of 4 PageID# 3




                                  Respectfully submitted,

                                  UNITED STATES OF AMERICA,
                                  Defendant

                                  RAJ PAREKH
                                  Acting United States Attorney

                             By: /s/ Kent P. Porter
                                 Kent P. Porter, VSB 22853
                                 Supervisory Assistant United States Attorney
                                 Office of the United States Attorney
                                 101 West Main Street, Suite 8000
                                 Norfolk, Virginia 23510-1671
                                 Telephone: (757) 441-6331
                                 Facsimile: (757) 441-6689
                                 Email: kent.porter@usdoj.gov
                                 Counsel for United States of America




                                     3
Case 2:21-cv-00051-AWA-DEM Document 1 Filed 01/25/21 Page 4 of 4 PageID# 4




                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing was served this 25th day of January,

2021, by United States mail, first class postage paid, addressed to the following:

       TRACY MCNAIR
       3801 Chatham Circle, Unit 2
       Norfolk, Virginia23513
       Pro se Plaintiff



                                        By: /s/ Kent P. Porter
                                            Kent P. Porter, VSB 22853
                                            Supervisory Assistant United States Attorney
                                            Office of the United States Attorney
                                            101 West Main Street, Suite 8000
                                            Norfolk, Virginia 23510-1671
                                            Telephone: (757) 441-6331
                                            Facsimile: (757) 441-6689
                                            Email: kent.porter@usdoj.gov
                                            Counsel for United States of America




                                                 4
